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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                           CASE NO. 23-80101-CR-CANNON/Reinhart

   UNITED STATES OF AMERICA,

          Plaintiff,
   v.

   DONALD J. TRUMP,
   WALTINE NAUTA, and
   CARLOS DE OLIVEIRA,

          Defendants.
                                        /

                    ORDER ON SEALING REQUESTS ASSOCIATED
                WITH DEFENDANTS’ MOTIONS TO COMPEL DISCOVERY1

          THIS CAUSE comes before the Court upon two Motions: (1) the Special Counsel’s

   Motion for Reconsideration and Stay (the “Motion” or “Motion for Reconsideration”)

   [ECF No. 294]; and (2) Defendants’ Motion for Leave to Disclose Discovery [ECF No. 312].

   Both Motions concern sealing requests associated with Defendants’ Motions to Compel Discovery

   and related filings [See ECF No. 262]. The parties have filed their respective Responses and

   Replies [ECF Nos. 316, 333, 334, 350]. On March 1, 2024, the Court heard argument on the

   Special Counsel’s Motion for Reconsideration [ECF No. 361]. Upon careful review of the

   Motions and the full record, including the arguments raised during the March 1, 2024, hearing, the

   Special Counsel’s Motion for Reconsideration [ECF No. 294] is GRANTED IN PART, and

   Defendants’ Motion for Leave to Disclose Discovery [ECF No. 312] is GRANTED IN PART.




   1
     This Order does not address the various other sealing requests associated with Defendants’
   substantive pretrial motions [ECF Nos. 339, 348, 384, 423]. Order on those requests to follow.
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                                           BACKGROUND

          The lengthy procedural history leading to the instant Motions is provided below:

          The Motions to Compel Discovery and Sealing Request:                On January 16, 2024,

   Defendants filed multiple Motions to Compel Discovery in consolidated form (hereinafter,

   “MTC”) [ECF No. 262]. In the MTC, Defendants seek an order (1) defining the scope of the

   prosecution team, and (2) compelling the Special Counsel to produce various categories of

   evidence under Fed. R. Civ. P. 16, Brady v. Maryland, 373 U.S. 83 (1963), and Giglio v. United

   States, 405 U.S. 150 (1972). Defendants attached numerous exhibits in support of their MTC,

   some of which are documents produced by the Special Counsel in discovery, and others which

   consist of materials obtained by Defendants pursuant to the Freedom of Information Act

   [ECF No. 262-1 (redacted); ECF No. 262-2 pp. 69–386 (sealed)].2 Consistent with the Protective

   Order entered on June 19, 2023 [ECF No. 27 ¶ 7], Defendants filed the MTC on the public docket

   in partially redacted form [ECF Nos. 262, 262-1].3 Defendants contemporaneously filed a Motion

   for Leave to file their MTC in substantially unredacted form (with limited exceptions), arguing

   that court filings are presumptively public records as provided in the Local Rules, see S.D. Fla.




   2
    Defendants’ Motions to Compel, as well as the associated Reply and Response, are accompanied
   by extensive classified supplements [ECF No. 263; see ECF Nos. 280, 301]. Neither Defendants
   nor the Press Coalition seek to unseal the classified supplements.
   3
     The operative blanket Protective Order extends to “all discovery produced by the United States
   to the Defendants in preparation for, or in connection with, any stage of this case” [ECF No.
   27 ¶ 1]. As relevant here, Paragraph 7 provides that “Defendants shall not disclose Discovery
   Material in any public filing or in open court without notice to, and agreement from, the United
   States, or prior approval from the Court” [ECF No. 27 ¶ 7]. All of the approximately 1.3 million
   pages of unclassified discovery in this case have been designated by the Special Counsel as subject
   to the Protective Order.


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   L.R. 5.4(a), (c), and that “no compelling interest in sealing the motions exists here”

   [ECF No. 261 pp. 1–2].

          The Special Counsel filed a brief, generalized response to Defendants’ Motion for Leave

   on January 18, 2024 (the “Seal Request”) [ECF No. 267].4 In that Seal Request, the Special

   Counsel opposed unsealing the MTC and accompanying exhibits to the extent that the information

   therein (1) “reveals the identity of any potential Government witness,” (2) “reveals personal

   identifying information for any potential Government witness,” or (3) “constitutes Jencks Act

   material for any potential Government witness” [ECF No. 267 pp. 1–2 (also identifying “certain

   additional discrete sensitive information” falling outside these enumerated categories)]. The Seal

   Request did not propose a legal framework to govern the requests, nor did it provide any factual

   support for the relief sought [ECF No. 267]. Defendants took “no position on any particular

   request,” but argued that the Special Counsel’s generalized and vague claims failed to provide

   sufficient factual or legal basis for the relief requested [ECF No. 270 p. 1].

          The Press Coalition’s Filing: On January 22, 2024, the Press Coalition filed a Motion to

   Intervene and Unseal Defendants’ Motions to Compel Discovery [ECF No. 269]. The Press

   Coalition argued, citing authorities, that Defendants’ MTC (and accompanying exhibits) are

   presumptively public court records subject to the First Amendment’s qualified right of access

   [ECF No. 269 pp. 2–6]. Both sides responded to the Press Coalition’s Motion [ECF Nos. 271,

   282]. Defendants largely took issue with the Press Coalition’s representations about Defendants’

   responsiveness to conferral efforts [ECF No. 271]. The Special Counsel argued that the Press



   4
      Later, on February 2, 2024, the Special Counsel moved to file sealed/redacted documents in
   connection with its Response to Defendants’ MTC [ECF No. 278]. That motion largely
   incorporated the position taken in the Special Counsel’s January 18, 2024, Seal Request [ECF No.
   278 p. 1 (referencing ECF No. 267)].


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   Coalition failed to establish the elements of intervention under Fed. R. Civ. P. 24 [ECF No. 282].

   The Special Counsel’s response did not object to the Press Coalition’s invocation of First

   Amendment principles, did not meaningfully engage with any of the legal standards, and did not

   offer any additional factual support.

          The Court’s Sealing Orders: Against the backdrop of the preceding history and record,

   the Court then issued two Orders (collectively, the “Sealing Orders”) authorizing the sealing of

   personal identifying information but otherwise requiring Defendants’ MTC and attached exhibits

   to be filed in unredacted form [ECF Nos. 283, 286]. Guided by the strong presumption of public

   access to criminal proceedings, the Court applied the unobjected-to First Amendment standard

   [ECF No. 283 p. 4 (noting that “neither party argues that the First Amendment does not apply to

   Defendants’ Motions to Compel or the materials attached thereto”)]. Under this standard—along

   with the well-established rules governing public access in this District, see S.D. Fla. L.R. 5.4;

   United States v. Maurival, 795 F. App’x 725, 727 (11th Cir. 2019)—the Court determined that

   “the Special Counsel has not set forth a sufficient factual or legal basis warranting deviation from

   the strong presumption in favor of public access to the records at issue” [ECF No. 283 p. 5]. The

   Orders also set deadlines for the sealed submission of the parties’ respective filings for the Court’s

   review prior to public docketing [ECF No. 283 p. 9; ECF No. 286 p. 2].

          The Motion for Reconsideration: On February 8, 2024, the Special Counsel filed the

   instant Motion for Reconsideration [ECF No. 294]. The Special Counsel argues that (1) the Court

   clearly erred in applying the First Amendment standard to the seal requests, which are instead

   governed by the Rule 16 “good cause” standard; and (2) reconsideration is warranted to “prevent

   manifest injustice” [ECF No. 294 p. 2].       Unlike the Special Counsel’s initial Seal Request

   [ECF No. 267], the Motion for Reconsideration proposes a legal standard and provides some



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   additional factual support [ECF No. 294 pp. 5–20; ECF No. 296 (sealed)]. Defendants responded,

   arguing that newly raised arguments and evidence cannot serve as a basis for reconsideration

   [ECF No. 333 pp. 1–2]. Defendants also argued that the Court applied the correct standard and

   distinguished the cases cited in the Motion from the circumstances presented in this criminal

   proceeding [ECF No. 333].

          The Motion for Leave to Disclose Discovery: In light of the Motion for Reconsideration,

   the Court stayed the deadlines established in the prior Sealing Orders [ECF No. 295]. At the

   Court’s instruction, Defendants filed a Notice concerning their then-forthcoming MTC Reply in

   which they proposed (1) publicly filing all portions of the MTC Reply that do not reference

   discovery; and (2) conferring with the Special Counsel about discovery they seek to disclose, and

   if necessary, seeking leave to file a redacted version of their MTC Reply [ECF No. 297]. The

   Court approved this proposal [ECF No. 297]. On February 9, 2024, Defendants filed all portions

   of the MTC Reply that did not reference discovery [ECF No. 300].

          On February 15, 2024, Defendants filed the instant Motion for Leave to Disclose

   Discovery, identifying four categories of material they seek to disclose in their Supplement to

   MTC Reply [ECF No. 312]. Defendants seek to disclose the following materials:

          •   Search warrant application for Defendant De Oliveira’s Gmail account;

          •   Grand jury testimony of an FBI Special Agent and a Secret Service Agent concerning
              the thoroughness of the August 8, 2022, search of Mar-a-Lago;

          •   U.S. Secret Service email chain shown to the Secret Service Agent during the grand
              jury testimony described above;

          •   Mar-a-Lago floor plan and security memorandum prepared by the U.S. Secret Service.

   [ECF No. 312 pp. 2–3]. In the alternative, Defendants seek permission to file a redacted copy of

   their Supplement (and accompanying exhibits) on the public docket, and an unredacted copy under


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   seal [ECF No. 312 p. 1]. The Special Counsel filed a Response opposing the materials’ public

   disclosure for the same reasons raised in prior filings [ECF No. 316; see, e.g., ECF No. 267;

   ECF No. 294 p. 2; (emphasizing concerns about witness safety, infecting witness testimony or the

   jury pool, and protecting privacy interests)].

          The March 1 Hearing: On March 1, 2024, the Court heard argument on the Special

   Counsel’s Motion for Reconsideration [ECF No. 361]. In addition to presentations from the

   parties, the Court heard argument from a representative from the Press Coalition as a non-party

   amicus curiae [ECF No. 361; see ECF No. 355].

                                         LEGAL STANDARDS

          “Although the Federal Rules of Criminal Procedure do not specifically authorize motions

   for reconsideration, both the Supreme Court and [the Eleventh Circuit] have permitted parties to

   file such motions in criminal cases.” Serrano v. United States, 411 F. App’x 253, 255 (11th Cir.

   2011) (citing United States v. Phillips, 597 F.3d 1190, 1199–1200 (11th Cir. 2010)). In deciding

   motions for reconsideration in criminal cases, courts “generally employ the standards underlying

   motions for reconsideration in civil cases.” United States v. Razz, 387 F. Supp. 3d 1397, 1402

   (S.D. Fla. 2019), aff’d, 837 F. App’x 712 (11th Cir. 2020). As in civil cases, “there are three major

   grounds which justify reconsideration: (1) an intervening change in controlling law; (2) the

   availability of new evidence; and (3) the need to correct clear error or prevent manifest injustice.”

   Id.; see, e.g., United States v. Grobman, 548 F. Supp. 3d 1344, 1347–48 (S.D. Fla. 2021); Arthur

   v. King, 500 F.3d 1335, 1343 (11th Cir. 2007) (“The only grounds for granting a Rule 59 motion

   are newly discovered evidence or manifest errors of law or fact.”) (quotations and citations

   omitted).




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          “[A] motion for reconsideration should not be used to relitigate old matters, raise argument

   or present evidence that could have been raised prior to the entry of judgment.” Michael Linet,

   Inc. v. Vill. of Wellington, Fla., 408 F.3d 757, 763 (11th Cir. 2005) (citing Stone v. Wall, 135 F.3d

   1438, 1442 (11th Cir. 1998), and 11 Charles Alan Wright, Arthur R. Miller, & Mary Kay Kane,

   Federal Practice and Procedure § 2810.1 (3d ed. 2023)); see also O’Neal v. Kennamer, 958 F.2d

   1044, 1047 (11th Cir. 1992) (“Motions to amend should not be used to raise arguments which

   could, and should, have been made before the judgment was issued.”); Am. Home Assur. Co. v.

   Glenn Estess & Assocs., Inc., 763 F.2d 1237, 1239 (11th Cir. 1985). This includes “new arguments

   that were ‘previously available, but not pressed.’” Wilchombe v. TeeVee Toons, Inc., 555 F.3d

   949, 957 (11th Cir. 2009) (quoting Stone, 135 F.3d at 1442); see also Lopez v. City of W. Miami,

   662 F. App’x 733, 738 (11th Cir. 2016); United States v. Jiles, No. 20-14471, 2022 WL 225519,

   at *3 (11th Cir. Jan. 26, 2022); O’Neal, 958 F.2d at 1047. As such, a motion for reconsideration

   is appropriate where, for example, “the Court has patently misunderstood a party, or has made a

   decision outside of the adversarial issues presented to the Court by the parties, or has made an

   error not of reasoning, but of apprehension.” Z.K. Marine Inc. v. M/V Archigetis, 808 F. Supp.

   1561, 1563 (S.D. Fla. 1992) (citations omitted).

          Finally, “[r]econsideration is an extraordinary remedy that should be employed sparingly,”

   Grobman, 548 F. Supp. at 1347–48, and the decision to reconsider is “committed to the sound

   discretion of the district judge,” Am. Home Assurance Co., 763 F.2d at 1238–39.

                                             DISCUSSION

          The Special Counsel now seeks reconsideration of the Court’s prior Sealing Orders

   [ECF No. 294; see ECF Nos. 283, 286]. The Special Counsel argues that (1) the Court clearly

   erred in applying the First Amendment standard to the seal requests, which are properly governed



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   by the Rule 16 “good cause” standard; and (2) reconsideration is warranted to “prevent manifest

   injustice”—namely, protecting potential witnesses and the integrity of the proceeding [ECF No.

   294 p. 2].5 Upon full review of the issues presented, the Court ultimately elects to consider the

   Special Counsel’s newly raised arguments and to reconsider its prior rulings. The Court grants the

   Special Counsel’s Motion in part, reasoning as follows:

          A. The Special Counsel’s Newly Raised Arguments Could Have and Should Have
             Been Raised Previously.

          As a preliminary point, the arguments and evidence advanced in the Special Counsel’s

   Motion could have, and should have, been raised in prior filings. Denial of the Motion would be

   appropriate on that basis. See, e.g., Michael Linet, Inc., 408 F.3d at 763 (providing that motions

   to reconsider cannot be used “to relitigate old matters, raise argument or present evidence that

   could have been raised prior to the entry of judgment”). As provided above, supra pp. 2–3, the

   Special Counsel had two opportunities to raise these arguments and failed to do so in both instances

   [ECF Nos. 267, 282]. The Special Counsel’s initial Seal Request failed to offer a governing legal

   framework or any factual support for the relief sought; instead, it contained only conclusory and

   unsubstantiated assertions about witness safety, the integrity of the proceedings, and privacy

   interests [ECF No. 267]. Later, in response to the Press Coalition’s Motion, the Special Counsel

   failed to engage with—let alone refute—the Press Coalition’s argument that the First Amendment

   attached to the subject materials [ECF No. 282; see ECF No. 269]. Instead, the Special Counsel

   focused solely on the elements of intervention under Fed. R. Civ. P. 24 [ECF No. 282]. Only now,

   after failing to meaningfully “raise argument[s] or present evidence that could have been raised”



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      “[E]ven if the Court finds that the Government’s prior filings did not adequately address the
   issues before the Court, it should exercise its discretion to consider the arguments and evidence
   below before resolving the request for continued sealed” [ECF No. 294 p. 10]. Out of an
   abundance of caution, and cognizant of the interests implicated, the Court agrees to do so here.
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   in these responses, Wilchombe, 555 F.3d at 957, the Special Counsel moves for reconsideration

   and argues, in no uncertain terms, that the Court committed “clear error” by applying an

   unobjected-to legal standard [ECF Nos. 267, 282].

          The same is true of the Special Counsel’s “manifest injustice” claim. The factual support

   underlying this claim—i.e., the basis for the assertion that disclosure of potential witnesses’

   identities could subject them to threats, intimidation, and harassment—was meaningfully

   developed for the first time in the Motion for Reconsideration itself [Compare ECF No. 267 with

   ECF No. 294 pp. 12–20 and ECF No. 296]. Indeed, as the Court’s Order determined, the Special

   Counsel’s initial Seal Request failed to provide the Court adequate support to grant the relief

   sought [ECF No. 283 (“Although substantiated witness safety and intimidation concerns can form

   a valid basis for overriding the strong presumption in favor of public access, the Special Counsel’s

   sparse and undifferentiated Response fails to provide the Court with the necessary factual basis to

   justify sealing.”)]. This remains true even if the Court had applied the Rule 16 “good cause”

   standard, which still requires a particularized, specific showing. See United States v. Wecht, 484

   F.3d 194, 211 (3d Cir. 2007) (“Broad allegations of harm, unsubstantiated by specific examples

   or articulated reasoning, do not support a good cause showing.”); Anderson v. Cryovac, Inc., 805

   F.2d 1, 7 (1st Cir. 1986) (same, collecting authorities).6 And this is to say nothing of the Special

   Counsel’s failure to comply with this District’s Local Rules on sealing, which the Court has

   emphasized repeatedly throughout this proceeding [ECF Nos. 41, 48, 228, 231]; S.D. Fla. L.R.



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      Although the Motion for Reconsideration correctly notes that “direct threats are not a strict
   condition precedent to a district court’s granting of a closure motion” [ECF No. 294 p. 15 (quoting
   United States v. Doe, 870 F.3d 991, 999 (9th Cir. 2017) (internal quotation marks omitted))], it
   remains true that a party seeking to seal documents must support its request with particularity.
   S.D. Fla. L.R. 5.4(c)(1); see Pansy v. Borough of Stroudsburg, 23 F.3d 772, 789 (3d Cir. 1994)
   (explaining that even under a “good cause” standard, “[b]road allegations of harm, unsubstantiated
   by specific examples or articulated reasoning, do not support a good cause showing”).
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   5.4(c)(1). This served as another independent basis for denial. See Maurival, 795 F. App’x at 727

   (affirming denial of motion to seal for failure to comply with S.D. Fla. L.R. 5.4(c)(1) where

   movant’s “cursory references to broad categories of protected classes of information did not

   provide the court with a specific factual basis justifying the motion to seal”); id. at 726 (“P]ursuant

   to the local rules for the Southern District of Florida, proceedings are public and court filings are

   ‘matters of public record.’ Where a party seeks to seal documents in a criminal case, he must set

   forth ‘the factual and legal basis for departing from’ the court’s open-access policy.” (quoting S.D.

   Fla. L.R. 5.4(a), (c)(1))).

           B. Nevertheless, the Court exercises its discretion to reconsider its ruling in light of
              the Special Counsel’s newly raised arguments and to apply Rule 16’s “good cause”
              standard to Defendants’ Motions to Compel.

           Although the record is clear that the Special Counsel could have, and should have, raised

   its current arguments previously, the Court elects, upon a full review of those newly raised

   arguments, to reconsider its prior Order. Having done so, the bottom line is this. The Eleventh

   Circuit has not specifically addressed the instant question: whether, in a criminal proceeding, the

   First Amendment qualified right of access attaches to discovery materials referenced or attached

   in support of a publicly filed Rule 12(b) motion to compel discovery under Rule 16. Nevertheless,

   the most faithful application of Supreme Court and available Eleventh Circuit authority is that

   Defendants’ MTC in this case is not subject to a public right of access, whether constitutional or

   common law in nature, because it is a still, ultimately, a discovery motion as distinct from a

   substantive pre-trial motion requiring judicial resolution on the merits. This conclusion flows from

   Chicago Tribune Co. v. Bridgestone/Firestone, Inc., 263 F.3d 1304 (11th Cir. 2001), a civil case

   in which the Eleventh Circuit held that discovery material filed in connection with a “discovery

   motion” is not subject to the First Amendment or common-law rights of access. Id. at 1310–13.



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   It also flows indirectly from Callahan v. United Network for Organ Sharing, 17 F.4th 1356 (11th

   Cir. 2021), another civil case in which the Eleventh Circuit, albeit in the common law context,

   recently reinforced a categorical view of what constitutes a “public or judicial record”—stressing

   a line between discovery material filed in connection with discovery motions versus discovery

   material referenced in substantive motions requiring judicial resolution of the merits. Id. at 1362

   (explaining that discovery materials “take on [the] status” of a judicial record “once they are filed

   in connection with a substantive motion”). And it derives most fundamentally from application of

   the Supreme Court’s “experience and logic” tests to the discovery “process” at issue in the MTC,

   assuming it is correct to view the “process” in the MTC as strictly discovery-based. See Press–

   Enterprise Co. v. Superior Court of California for Riverside County, 478 U.S. 1, 9 (1986) (Press–

   Enterprise II). See infra p. 12 (discussing the unique nature of the MTC). Applying those

   authorities, the Court agrees with the Special Counsel’s now-developed position that the discovery

   materials referenced in, and attached to, Defendants’ MTC take on the character of the motion to

   which they are attached—here, a motion that is, at least in considerable part, a “discovery

   motion”—the net result being that they do not trigger the public’s right of access.

          None of this is to say that the issue presented on reconsideration is clear-cut or

   straightforward [ECF No. 283 (noting developing area of law)]. First, the Special Counsel’s

   position depends on an extension of Chicago Tribune to discovery attached to public court filings

   in criminal cases—yet as all parties observe [ECF No. 369 p. 118; ECF No. 333 p. 4; see ECF No.

   369 pp. 97–109], Chicago Tribune features a distinction between the First Amendment’s

   applicability in civil and criminal cases.      Chicago Tribune Co., 263 F.3d at 1310 (“The

   constitutional right of access has a more limited application in the civil context than it does in the

   criminal.”). This distinction cannot be ignored given the pronounced and well-developed history



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   of the public’s heightened interest in criminal cases. Id. (emphasizing the “firmly established”

   nature of “[t]he media and general public’s First Amendment right of access to criminal trial

   proceedings”).7 Second, and more granularly, the Eleventh Circuit criminal cases cited by the

   Special Counsel in support of extending Chicago Tribune’s holding to the criminal context—

   United States v. Anderson, 799 F.2d 1438 (11th Cir. 1986) and United States v. Nickens, 809

   F. App’x 584 (11th Cir. 2020)—are distinguishable in that they involve discovery unattached to a

   publicly filed Rule 12 motion seeking Rule 16 discovery, as is presented here.8 Third, as the Court

   noted in its initial Sealing Order, right-of-access caselaw as related to criminal pretrial motions

   remains developing—with at least one circuit court applying First Amendment principles to a pre-

   trial motion to compel discovery and other pre-trial motions/materials, In re Time Inc., 182 F.3d

   270, 271 (4th Cir. 1999) (noting blanket protective order controlling discovery), and with another

   circuit endorsing a broader First Amendment right of access to “pretrial documents in general,”

   although not specifically in the context of motions to compel discovery, Associated Press v. U.S.

   Dist. Ct. for Cent. Dist. of California, 705 F.2d 1143, 1145 (9th Cir. 1983).9 And finally, more



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     See, e.g., Globe Newspaper Co. v. Superior Court, 457 U.S. 596, 605–606 (1982) (“[P]ublic
   access to criminal trials permits the public to participate in and serve as a check upon the judicial
   process—an essential component in our structure of self-government”); Richmond Newspapers,
   Inc., 448 U.S. at 564–75 (1980) (surveying the history of the public’s right to access to criminal
   proceedings); 4 William Blackstone, Commentaries *5 (explaining the public’s heightened
   interest in criminal proceedings, as compared to civil).
   8
     Anderson, 799 F.2d at 1440 & n.2 (finding no First Amendment right of access associated with
   a Rule 404(b) notice filed in compliance with a court order—and then expressly distinguishing
   that “voluntary discovery” material from a Rule 12 motion seeking discovery under Rule 16);
   Nickens, 809 F. App’x at 591 (holding that sealed transcript from an ex parte discovery conference
   between court and prosecutors, but not attached in support of a publicly filed Rule 12(b) motion,
   fell outside the First Amendment right of access).
   9
     See also In re Washington Post Co., 807 F.2d 383 (4th Cir. 1986) (documents in plea and
   sentencing hearings); In re Globe Newspaper Co., 729 F.2d 47, 52 (1st Cir. 1984) (documents in
   pretrial bail proceedings); In re New York Times Co., 828 F.2d 110 (2d Cir. 1987) (documents in
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   specific to the filing at issue, Defendants’ MTC—a consolidated filing exceeding 300 pages

   (exclusive of classified supplements)—does not resemble a simple “discovery motion” [see

   ECF No. 369 pp. 97–109]. As the MTC and associated filings indicate [ECF Nos. 262, 300],

   Defendants primarily seek a “judicially enforced definition of the prosecution team,” along with

   an adjudicative ruling that Defendants have produced “some evidence tending to show the

   existence of the essential elements” of their selective/vindictive prosecution claims. United States

   v. Jordan, 635 F.3d 1181, 1188–89 (11th Cir. 2011). These embedded scope-of-the-prosecution-

   team and selective-and-vindictive-prosecution questions, related to broader questions of due

   process and alleged “bias and political animus,” give the MTC a decidedly different flavor than a

   “garden variety” discovery filing—making the access inquiry murkier.

          Notwithstanding the still-developing and somewhat muddled questions raised in this

   criminal case, the Court determines, for the reasons previously stated, that no right of access

   attaches to the disputed discovery material referenced and/or attached in Defendants’ MTC. The

   Court therefore applies the “good cause” standard set forth in Rule 16 to the categories of

   information in the Special Counsel’s seal requests, addressed below. Fed. R. Crim. P. 16(d)(1);

   see Fed. R. Civ. P. 26(c).

          C. Application of Rule 16’s “Good Cause” Standard to the Disputed Categories of
             Information

          The Rule 16 “good cause” standard requires a particularized, specific showing when the

   designation of a document produced under a “blanket” protective order is challenged. Chicago



   suppression hearings); Seattle Times Co. v. U.S. Dist. Ct. for W. Dist. of Washington, 845 F.2d
   1513 (9th Cir. 1988) (documents in pre-trial detention proceedings); In re Search Warrant for
   Secretarial Area Outside Off. of Gunn, 855 F.2d 569 (8th Cir. 1988) (documents in support of
   search warrant applications); United States v. Ochoa-Vasquez, 428 F.3d 1015, 1029–30 (11th Cir.
   2005) (sealed dockets and specific plea and sentencing-related documents).

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   Tribune Co., 263 F.3d at 1307–1308; id. at 1308 n.2; Wecht, 484 F.3d at 211. This evaluation

   contemplates the balancing of several relevant factors, including the safety of witnesses and third

   parties; a particular danger of perjury or witness intimidation; the protection of information vital

   to the national security; and the protection of business enterprises from economic reprisals. E.g.,

   United States v. Cordova, 806 F.3d 1085, 1090 (D.C. Cir. 2015) (citing Fed. R. Crim. P. 16,

   Advisory Committee Notes to the 1966 Amendment). A party’s reliance on a protective order is

   also a factor, albeit entitled to less weight in cases involving a “blanket” protective order.10 United

   States v. Bulger, 283 F.R.D. 46, 53–54 (D. Mass. 2012); see Pansy, 23 F.3d at 70 (“Reliance will

   be less with a blanket order, because it is by nature overinclusive.”) (quotation omitted). So too

   must courts accommodate any defendant’s assertion or concern that disclosure of information will

   harm his or her interests or right to a fair trial, a suggestion that no Defendant makes here

   [ECF No. 270 pp. 2–3].11

          The Special Counsel argues that, in light of the Protective Order, the “good cause” burden

   rests with Defendants [ECF No. 294 p. 9 (“[The Protective Order] presupposes that the burden is

   on the defendants to justify the basis for publicly disclosing presumptively confidential discovery

   material[.]”) (emphasis in original)]. The Court disagrees. As a general principle, a “protective

   order binds only the parties thereto, not the Court,” and it does not displace binding legal principles

   governing good cause, the Local Rules, or access principles more generally. Kurimski v. Shell Oil


   10
      A “blanket” protective order is one that “extend[s] broad protection to all documents produced
   by [a party], without a showing of good cause for confidentiality as to any individual documents.”
   Pub. Citizen v. Liggett Grp., Inc., 858 F.2d 775, 790 (1st Cir. 1988). The operative Protective
   Order, which covers “[a]ll non-classified discovery produced by the United States to the
   Defendants,” is one such example [ECF No. 27; see ECF No. 23 (Motion for Protective Order)].
   11
      Although the Press Coalition was given leave to participate as an amicus on matters related to
   public access and presented oral argument at the March 1, 2024, hearing, the Press Coalition has
   not been granted intervention status in this case [ECF No. 283 p. 9 n.9 (denying as moot Press
   Coalition’s intervention request)].
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   Co., No. 21-80727-CV, 2021 WL 8972940, at *1 (S.D. Fla. Sept. 29, 2021). More specifically,

   under a blanket protective order issued upon a generalized “good cause” showing, as is in effect

   here [ECF No. 27; see ECF No. 23], the party seeking to maintain the seal carries the burden in

   the face of document-specific challenges. Chicago Tribune Co., 263 F.3d at 1307 (explaining that

   a blanket protective order merely “postpones the necessary showing of ‘good cause’ required for

   entry of a protective order until the confidential designation [of a document] is challenged”); In re

   Alexander Grant, 820 F.2d at 356 (same); Pansy, 23 F.3d at 787 n.17 (same); Bulger, 286 F.R.D.

   at 52–53 (collecting cases). Because Defendants challenged the designation of the discovery

   materials referenced in support of their MTC [ECF No. 261 p. 2], the burden of making document-

   specific “good cause” showings falls to the Special Counsel.

            Applying these legal principles to the voluminous record, the Court addresses below the

   categories of information subject to the Special Counsel’s seal requests.

                   1. Witness Identities

            The Special Counsel seeks to redact from Defendants’ MTC and exhibits information that

   reveals the identity of any potential government witness, arguing that publicizing witness identities

   could subject those potential witnesses to threats, intimidation, or harassment [ECF No. 267 p. 2;

   ECF No. 294 pp. 12–15]. The Special Counsel offers examples of threats and/or concerning

   communications directed at judicial officers and law enforcement agents connected with

   proceedings following the August 8, 2022, search of Defendant Trump’s home and with other

   cases involving Defendant Trump [ECF No. 294 pp. 13–16]. The Special Counsel also filed under

   seal evidence related to a government witness by a non-party not referenced or cited in Defendants’

   Motions [ECF No. 296 (sealed)].12



   12
        The Special Counsel also acknowledges that no defendant in this case has engaged in witness
                                                    15
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          Although the Special Counsel’s request remains sweeping in nature as applied to all

   potential government witnesses without differentiation—and although the Court was unable to

   locate another high-profile case (in publicly available records) in which a court granted a broad-

   based pre-trial request to seal the identities of all potential prosecution witnesses as sought here—

   the Court is satisfied that the Special Counsel has made an adequate showing on this issue under

   Rule 16, at least at this juncture pending final trial preparations.13 The Court directs the Special

   Counsel, consistent with the instructions below, see infra p. 24, to file under seal an index

   containing the name of each potential government witness and a corresponding

   pseudonym/anonymization for use in the redactions of Defendants’ MTC.

                  2. Personal Identifying Information (“P.I.I.”)

          The Special Counsel and Defendants request redactions of personal identifying information

   [ECF No. 267 p. 2 (seeking to redact information that “reveals personal identifying information

   for any potential Government witness”); ECF No. 261 p. 3 (seeking redactions of P.I.I.)]. The

   Court previously granted this joint request, and no party challenges it now [ECF Nos. 283, 286].

   Thus, as before, the Court authorizes redactions to P.I.I. consistent with the privacy protections

   rooted in Federal Rule of Criminal Procedure 49.1 and this District’s CM/ECF Administrative

   Procedures. See Fed. R. Crim. P. 49.1(a)(1)–(5) (permitting redaction of certain P.I.I., including

   dates of birth, social security numbers, and home addresses). The parties are directed to review

   the subject materials and redact email addresses, phone numbers, dates of birth, social security

   numbers, and home addresses.



   intimidation [ECF No. 369 p. 135], and that all defendants are subject to a no-contact order that
   heretofore has generated no activity in the case [ECF Nos. 17, 19, 90].
   13
      The Special Counsel has not proposed a specific duration for the seal request, as required under
   the Local Rules, see S.D. Fla. L.R. 5.4(c)(1),
                                                    16
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                  3. Substantive Witness Statements

          As for the third category, the Special Counsel argues for—in what is characterized as a part

   of a “narrow” set of seal requests—the wholesale and undifferentiated pre-trial sealing of all

   information that “constitutes Jencks Act material for any potential Government witness”

   [ECF No. 267 p. 2].14 The Special Counsel contends that this information should remain sealed

   “because of witness safety concerns and so as to not influence the testimony of other witnesses or

   the jury pool” [ECF No. 278 p. 2]. In response, Defendants argue that the Special Counsel has not

   provided “any case supporting their position that materials subject to the Jencks Act are

   categorically subject to sealing” [ECF No. 270 p. 2; ECF No. 333 p. 7]. Upon review, the Court

   grants the Special Counsel’s request in limited part, as provided below:

                          a. Material that could be used to identify potential witnesses

          The Court finds good cause to redact limited portions of the Jencks material that could

   directly identify potential witnesses. These limited redactions would include, for example:

   professional titles [see, e.g., ECF No. 262-2 p. 73 ¶¶ 1, 3 (describing witness’s current and former

   positions)]; detailed biographical or professional background information that could reasonably be

   used for identification purposes [see, e.g., ECF No. 279 pp. 87–89]; information resembling P.I.I.

   that could be used for identification purposes; and other specific information which would

   obviously and directly identify a potential witness. Sealing this material is supported by the same

   witness-safety rationale that has been deemed in this Order to justify redacting witness identities.

   See United States v. Roberts, 811 F.2d 257, 259 (4th Cir. 1987) (explaining that “questions of



   14
      The Jencks Act provides: “In any criminal prosecution brought by the United States, no
   statement or report in the possession of the United States which was made by a Government
   witness or prospective Government witness (other than the defendant) shall be the subject of
   subpoena, discovery, or inspection until said witness has testified on direct examination in the trial
   of the case.” 18 U.S.C. § 3500(a); see Fed. R. Crim. P. 16(a)(2).
                                                    17
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   witness safety necessarily arise” when Jencks material is disclosed). The Court is confident that

   these limited redactions, in conjunction with the redactions to witness identities and P.I.I.

   authorized above, effectively resolve the witness safety/harassment issues, which serve as the

   “prime     concern”   animating    the    Special    Counsel’s    request   [ECF No. 267 p. 2;     see

   ECF No. 294 pp. 12–15]. The parties are directed to meaningfully confer and redact all identifying

   statements from the subject materials. In the event of closely contested phrases or information,

   the parties should err on the side of redaction.

                          b. Remaining substantive witness statements

            The Court reaches a different conclusion as to the Special Counsel’s broad-based request

   to seal the substance of all substantive Jencks statements referenced in and/or attached to the MTC

   [ECF No. 278 p. 2 (arguing for wholesale sealing of potential witnesses’ statements to avoid

   “influenc[ing] the testimony of other witnesses or the jury pool”)]. By granting this sweeping and

   undifferentiated request—which the Special Counsel also raises in seal requests associated with

   Defendants’ substantive pretrial motions [See ECF No. 348 pp. 6–7]—the Court would be

   authorizing the categorical sealing of large portions of the record attached in support of critical

   pretrial defense motions.15 For the reasons below, the Court does not find the Special Counsel’s

   generalized witness- and jury-pool-influence concerns sufficient to establish good cause to

   categorically seal the remaining portions of the substantive witness statements in the manner

   requested.



   15
       As an additional byproduct of granting this sweeping request, upcoming hearings on
   Defendants’ MTC and substantive pretrial motions—hearings that are typically, and rightly
   (especially in a case of such public significance), conducted in open court—would necessarily be
   closed to the public at least in significant form. In light of the strong presumption of public access,
   and determining that “good cause” does not exist for such closure, the Court declines to do so. See
   Craig v. Harney, 331 U.S. 367, 374 (1947) (“What transpires in the courtroom is public
   property.”).
                                                       18
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            To date, the Special Counsel has had multiple opportunities to provide factual and legal

   support for the contention that generalized witness- and jury-pool-influence concerns justify

   blanket sealing of all witness statements relied on in pre-trial motions [ECF Nos. 267, 282, 294,

   350]. None has been provided. All factual Jencks-request support included in the Motion is

   offered as a means of substantiating witness-safety concerns—not witness- and jury-pool-

   influence concerns [See, e.g., ECF No. 294 pp. 13–15; ECF No. 296]. As such, the good cause

   showing is inadequate. See Wecht, 484 F.3d at 211 (“Broad allegations of harm, unsubstantiated

   by specific examples or articulated reasoning, do not support a good cause showing.”). Moreover,

   the request is generalized and undifferentiated, applying without distinction to all potential

   government witnesses regardless of substance, context, or role. The Court has found no analogue

   for this type of request—which, it bears noting—arises in a case involving a lengthy speaking

   indictment that itself generously references and quotes from a variety of non-Defendant

   statements, many of which were allegedly made by potential government witnesses [e.g., ECF No.

   85 ¶¶ 28, 32, 35, 41–46, 53, 55–57, 59–60, 65, 67–70, 75, 77–78, 80, 84, 91].

            As for legal authority, the cases cited in the Special Counsel’s papers do not lend support

   to this sweeping request; nor do they appear to have been offered as such.16 And based on the

   Court’s independent research, granting this request would be unprecedented: the Court cannot

   locate any case—high-profile or otherwise—in which a court has authorized anything remotely

   similar to the sweeping relief sought here.17 What does exist, as a counterpoint, are authorities



   16
       The Jencks-related cases cited in the Special Counsel’s papers are offered almost entirely in
   support of the witness-safety rationale, not in support of witness- and jury-influence concerns as a
   rationale for broad-based sealing [see ECF No. 267 p. 2 (citing two cases); ECF No. 294 pp. 15–
   16 (citing two cases)]. In any event, these cases do not provide examples of courts authorizing the
   indiscriminate sealing of all substantive witness statements.
   17
        The Special Counsel’s reliance on the umbrella Protective Order does not dictate a different
                                                    19
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   describing time-tested tools to ensure the integrity of highly publicized proceedings like this one,

   including comprehensive voir dire under oath and exclusion of trial witnesses from the courtroom.

   See In re Charlotte Observer (Div. of Knight Pub. Co.), 882 F.2d 850, 855–56 (4th Cir. 1989)

   (collecting cases); see Romero v. Drummond Co., Inc., 480 F.3d 1234, 1247 (11th Cir. 2007). The

   existence of these safeguards counsels against the categorical sealing of all substantive statements

   as used in pre-trial motions.

          In sum, the Court finds that the Special Counsel has made a sufficient “good cause”

   showing to justify redactions of information in substantive witness statements that could be used

   to identify potential witnesses (along with witness names and P.I.I., as noted). Confident that such

   redactions will address the witness-safety concerns at the center of the Special Counsel’s seal

   request, the Court exercises its discretion to decline the Special Counsel’s wholesale request to

   seal non-identifying substantive witness statements, for which no particularized factual or legal

   support has been presented.18

                  4. Miscellaneous Requests

          The Special Counsel also identifies documents that “contain certain additional discrete

   sensitive information” falling outside these three categories that should remain sealed

   [ECF No. 267 pp. 1–2]. As in the Court’s initial Sealing Order, the Court finds that national

   security concerns are sufficient to warrant sealing of the “signals intelligence sub-compartments




   result. Under the operative Protective Order, all 1.3 million pages of discovery produced to date
   have been designated confidential. And while reliance interests are properly weighed in the
   analysis, “[r]eliance will be less with a blanket order, because it is by nature overinclusive.” Pansy,
   23 F.3d at 70 (quotation omitted); Bulger, 286 F.R.D. at 54 (collecting cases).
   18
      Although none has been identified, to the extent any substantive statements involve an ongoing
   criminal investigation such that public disclosure would jeopardize that investigation, that
   information shall be redacted.
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   that are redacted in the Superseding Indictment” [ECF No. 267 p. 2; see ECF No. 85 pp. 32–37].

   See Snepp v. United States, 444 U.S. 507, 509 n.3 (1980) (finding a “compelling interest in

   protecting both the secrecy of information important to our national security and the appearance

   of confidentiality so essential to the effective operation of our foreign intelligence service”).

   Additionally, the Special Counsel requests to redact from certain exhibits “the FBI code name of

   a separate investigation” and “uncharged conduct as to one or more individuals”

   [ECF No. 267 pp. 2–3].19 The Court determines that law enforcement and third-party privacy

   interests are sufficient to justify these redactions. Finally, unlike the Special Counsel’s requests

   vis-à-vis Defendants substantive pretrial motions, the Seal Request does not seek the redaction of

   ancillary names [see ECF No. 348 p. 10; but see ECF No. 294-1]. Nevertheless, for consistency,

   and recognizing that third-party privacy concerns establish “good cause” under the operative

   framework, the Court authorizes the sealing of this type of information.

                   5. Requests Associated with Defendants’ Supplement to MTC Reply

            In their Motion for Leave to Disclose Discovery, Defendants identify four categories of

   discovery material they seek to reference in their Supplement to MTC Reply [ECF No. 312 pp. 2–

   3]. The Special Counsel opposes disclosure of all four categories “for the same reasons the

   Government has explained elsewhere: doing so would unnecessarily expose potential witnesses to

   very real dangers of harassment, intimidation, and reprisal” [ECF No. 316 p. 1]. Each is discussed

   below.




   19
     The Special Counsel’s prior submission did not specifically identify either the “FBI code name”
   or “uncharged conduct,” or where the Court could locate this information in the voluminous papers
   [ECF No. 283 p. 8]. The Motion for Reconsideration, however, provides sufficient detail to allow
   the Court to reasonably locate and rule on the requests [ECF Nos. 294, 294-1 (appendix)].
                                                   21
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                          a. Search warrant application for Defendant De Oliveira’s Gmail account

          First, the Special Counsel opposes the disclosure of a search warrant application for

   Defendant De Oliveira’s Gmail account [ECF No. 316 p. 3]. This includes the search warrant

   itself, the accompanying affidavit, and any attachments thereto [ECF No. 312 p. 2]. Consistent

   with the holdings above, the Court directs Defendants to redact from these materials witness

   identities, P.I.I., and any Jencks material that could directly identify potential witnesses as

   previously described in this Order.20

                          b. Grand jury testimony for two potential government witnesses

          Second, the Special Counsel opposes disclosure of grand jury testimony for two potential

   government witnesses: an FBI Special Agent and a Secret Service Agent [ECF No. 316 p. 4]. The

   Special Counsel argues that these materials should remain sealed “for the same reasons they are

   protected by Rule 6(e)” [ECF No. 316 p. 4]. Consistent with the important public and private

   interests served by the grand jury secrecy requirement contained in Fed. R. Crim. P. 6(e), the Court

   finds good cause to seal this material on that basis, subject to any additional litigation.21 See

   Douglas Oil Co. v. Petrol Stops Northwest, 441 U.S. 211, 218–19 (1979). Defendants should

   redact (not-otherwise already public) grand jury testimony from their publicly filed Supplement.22

   Further, grand jury transcripts should not be attached to the publicly filed Supplement.




   20
      The Special Counsel indicates that, after the March 1, 2024, hearing, his office revisited six
   search warrant applications implicated in this case and now is comfortable releasing “substantially
   unredacted” versions of the associated affidavits [ECF No. 384 p. 3]. To the extent the Special
   Counsel agrees to greater disclosure than ordered herein, the Court authorizes that approach.
   21
      The District of Columbia recently transferred grand jury resolution of pending public disclosure
   issues arising out of grand jury matters originating in that district.
   22
      Defendant Nauta’s FBI interview and grand jury testimony has since been included in a publicly
   filed Special Counsel response [ECF No. 381 p. 19 nn.6 –7].
                                                   22
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                         i. U.S. Secret Service email chain.

           Third, the Special Counsel opposes disclosure of a U.S. Secret Service email chain as

   “paradigmatic Jencks Act material” that should be sealed [ECF No. 316 p. 4]. Defendants intend

   to reference and quote these emails “insofar as they relate to the thoroughness of the search of

   Mar-a-Lago on August 8, 2022” [ECF No. 312 p. 3]. Consistent with the instructions provided for

   substantive witness statements above, see supra pp., 18–20, Defendants are directed to redact any

   information that could be used to directly identify witnesses but may otherwise reference and quote

   the email chain.

                        ii. Mar-a-Lago floorplan / U.S. Secret Service security memorandum.

           Finally, the Special Counsel opposes disclosure of a “memorandum prepared by Secret

   Service personnel following a Residential Security Survey of Mar-a-Lago in April 2021”

   [ECF No. 316]. The Court finds good cause for sealing this material based on the same national-

   security and law-enforcement justifications provided above. Defendants are directed to redact all

   references to the Mara-a-Lago floorplan/memorandum in their publicly filed supplement and not

   attach it to their filing.

                                                 CONCLUSION

           For the foregoing reasons, it is hereby ORDERED AND ADJUDGED as follows:

                1. The Motions [ECF Nos. 294, 312] are GRANTED IN PART in accordance with

                    this Order.

                2. On or before April 15, 2024, the Special Counsel shall file under seal an index

                    identifying each potential government witness identified in any of the discovery

                    materials attached/referenced in the MTC, giving each a corresponding

                    pseudonym/anonymization (e.g., “John Smith” – NARA Employee 1).



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                 3. On or before April 16, 2024, the parties shall meaningfully confer regarding the

                    redaction of Jencks material that could identify potential witnesses, erring on the

                    side of redaction. Should the parties be unable to reach an agreement on any

                    particular content, they shall jointly submit a sealed Notice to the Court on or before

                    April 19, 2024, identifying the areas of dispute with particularity.

                 4. On or before April 22, 2024, the parties shall file public versions of the MTC,

                    Response, and Reply as separate entries on the docket, consistent with this Order

                    and the aforementioned index of anonymous witness names. To avoid confusion,

                    and for docket clarity, the parties shall take care to effectuate this docketing in

                    sequence (MTC and opposition).23 As for Defendants’ Supplemental Reply in

                    Support of the MTC, Defendants are authorized to file an unredacted copy and

                    accompanying exhibits under seal in accordance with this Order.

                 DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 9th day of April

         2024.



                                                              _________________________________
                                                              AILEEN M. CANNON
                                                              UNITED STATES DISTRICT JUDGE


   cc:      counsel of record




   23
     Defendants already filed a limited Reply [ECF No. 300], so no additional docketing of that
   Reply is necessary, to be supplemented by the forthcoming Supplemental Reply
   [ECF No. 312 p. 1].
                                                      24
